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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                       CAMDEN VICINAGE

                                        MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                 Honorable Renée Marie Bumb,
LIABILITY LITIGATION                    District Court Judge


This Document Relates to All Actions


 DEFENDANTS ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.,
HUAHAI U.S., INC., PRINSTON PHARMACEUTICAL INC., AND SOLCO
   HEALTHCARE U.S., LLC’S MEMORANDUM IN SUPPORT OF
 OBJECTIONS TO AND MOTION TO REVERSE SPECIAL MASTER’S
 ORDER DENYING LEAVE TO FILE SECOND AMENDED ANSWER
                  AND AFFIRMATIVE DEFENSES
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      Defendants Zhejiang Huahai Pharmaceutical Co., Ltd.; Huahai U.S., Inc.;

Prinston Pharmaceutical Inc.; and Solco Healthcare U.S., LLC (collectively, the

“ZHP Defendants”), by and through their undersigned counsel, hereby object to

Special Master Order (“SMO”) 97 denying their motion for leave to file a Second

Amended Answer and Affirmative Defenses. The ZHP Defendants sought leave to

make express their additional defenses that any assignment of rights from

EmblemHealth (“EmblemHealth Assignment”) and/or SummaCare (“SummaCare

Assignment”) to Plaintiffs is void under New York and Ohio’s doctrines of

champerty, respectively. In addition, the ZHP Defendants sought to add the defense

that the SummaCare Assignment is independently invalid under Ohio law because

it impermissibly assigns a contingent and not-yet-established future interest. The

Special Master denied the motion on the asserted ground that it would permit “the

eleventh hour assertion of dubious defenses that will require additional discovery

and substantial delay.” (ECF 2701, at 6.) The Special Master’s decision was clearly

wrong and should be reversed.

      First, although the Special Master did not formally find the proffered defenses

to be invalid or the proposed amendment to be futile, he held that there was

“substantial reason to believe that [the defenses would] fail as a matter of law.”

(ECF 2701, at 7.)      This conclusion was erroneous.         With respect to the

EmblemHealth Assignment, the Special Master imposed limitations on the doctrine
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of champerty that have no support in New York law. 1 And with respect to the

SummaCare Assignment, the Special Master conflated two independent defenses,

wrongly suggested that one or both had been repealed, and confused Article III

standing with state-law limits on assignments.

      Second, the Special Master’s finding that an amended answer would cause

undue prejudice ignores the fact that trial was postponed indefinitely immediately

prior to oral argument on the motion to amend. Any limited additional litigation that

would be required by adding these new defenses (such as further discovery or motion

practice) would be limited in scope and could easily be completed without any

additional delay. Nor would it impose any greater cost than would have been

imposed if the ZHP Defendants had included these defenses in their initial answer

in December 2023, especially since discovery was already closed and the class was

already defined before the initial answer was due.

      Third, the additional reasons that the Special Master mentioned in passing—

i.e., that the ZHP Defendants unduly delayed and that any challenge to the validity

of the assignments would be pointless because the same claims could be pursued by

assignors as absent class members—are also wrong as a matter of fact and law.


1
      The EmblemHealth Assignment states that the “interpretation, construction,
and enforcement of this Agreement” shall be governed by New York law. (ECF
2672-3.) The SummaCare Assignment provides that Ohio law governs how the
agreement will be “construct[ed] and enforced.” (ECF 2672-4.)


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                                 BACKGROUND

      In February 2023, Judge Robert Kugler certified a sprawling class action

including third-party payors, individual economic loss plaintiffs, and medical

monitoring plaintiffs. (See ECF 2261.) Two months later, in April, the Court

ordered a “bellwether” trial spanning four causes of action, and nearly every state,

with MSP Recovery Claims, Series LLC (“MSP” or “Plaintiffs”) as the sole class

representative.   (See ECF 2343.)     The trial defendants’ answers were due in

December 2023. Although the defendants had raised the possibility that MSP’s

assignments might be invalid under champerty or related doctrines as early as 2022

(see ECF 2010, at 21-22), the ZHP Defendants did not specifically enumerate these

defenses in their December 2023 answer. When they realized the oversight during

trial preparation, they promptly moved to amend the answer to include additional

defenses. That motion was filed on March 6, 2024. (ECF 2672.) Although trial had

initially been scheduled for late March 2024, it was postponed indefinitely, first due

to Judge Kugler’s illness and then due to his retirement from the bench. It has not

been rescheduled. Rather, immediately prior to the hearing on this motion, Judge

Kugler acknowledged that the trial would not take place this spring and noted that it

might not take place at all.

      Despite the indefinite delay, the Special Master treated the motion to amend

as if it came on the eve of trial and denied it in SMO 97. These objections follow.



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                                  ARGUMENT

      This Court’s review of decisions issued by the Special Master is governed by

Rule 53. See, e.g., Nippon Steel & Sumitomo Metal Corp. v. POSCO, No. 12-2429,

2014 U.S. Dist. LEXIS 42444, at *1 (D.N.J. Mar. 26, 2014). Objections to the

Special Master’s findings of fact and conclusions of law are subject to de novo

review, unless the parties stipulate otherwise, which they have not done here.2 Fed.

R. Civ. P. 53(f)(3)-(4). (See, e.g., ECF 1994 at 5 (applying de novo standard of

review to order on motion to amend complaint).) “Upon review, the [c]ourt may

‘adopt or affirm, modify, wholly or partially reject or reverse, or resubmit to the

master with instructions.’” Ramos v. Banner Health, No. 15-cv-2556, 2018 U.S.

Dist. LEXIS 138101, at *6 (D. Colo. Aug. 8, 2018) (citation omitted).

      Under this standard of review (or any other), the Court should sustain the ZHP

Defendants’ objections and completely reverse the order denying the motion for

leave to amend. A “court should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). Amendment should be allowed unless it is

apparent that: (1) the amendment would be futile; (2) the amendment would

prejudice the opposing party; (3) the moving party has demonstrated undue delay,




2
      A “ruling on a procedural matter” is reviewed for abuse of discretion. Fed. R.
Civ. P. 53(f)(5). But an order denying a motion for leave to amend a pleading is not
a procedural matter.


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bad faith [or] dilatory motives; or (4) the moving party has repeatedly failed to cure

deficiencies under previously allowed amendments. Venuto v. Atlantis Motor Grp.,

LLC, No. 17-3363, 2020 WL 998945, at *4 (D.N.J. Mar. 2, 2020).

      Here, the defenses at issue are meritorious, Plaintiffs will suffer no prejudice

from their assertion, the brief delay between the answer and motion for leave would

cause minimal, if any, prejudice, and there are no other grounds for denying the

motion.

I.    THE ZHP DEFENDANTS’ PROPOSED AMENDMENTS ARE NOT
      FUTILE.

      Although it did not formally decide the matter, the Special Master’s order was

clearly colored by his view that “there are substantial reasons to believe that the . . .

defense[s] would fail under both states’ laws.” (ECF 2701, at 7.) That was incorrect.

The proposed defenses are clearly meritorious and easily pass muster under the

motion-to-dismiss standard that governs the sufficiency of an amendment. See, e.g.,

Juul Labs, Inc. v. 4X PODS, No. 18-15444, 2020 WL 2029327, at *5 (D.N.J. Apr.

28, 2020) (“To determine whether an amendment is []sufficient on its face, the

[c]ourt employs the standard applied to Rule 12(b)(6) motions to dismiss.”).

      The EmblemHealth Assignment plausibly violates New York’s champerty

statute.   The Special Master correctly cited the New York champerty statute,

codified at Judiciary Law § 489, which provides that “no corporation . . . directly or

indirectly . . . shall solicit, buy or take an assignment of . . . any claim or demand,


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with the intent and for the purpose of bringing an action or proceeding thereon.”

N.Y. Jud. Law § 489. The Special Master also correctly stated that “New York

courts have construed this statute to require that ‘the primary purpose of the

[assignment] must be to enable one to bring a suit, and the intent to bring a suit must

not be merely incidental or contingent.’” (ECF 2701, at 8 (quoting Justinian Cap.

SPC v. WestLB AG, 65 N.E.3d 1253, 1256 (N.Y. 2016)) (alteration in SMO).)

      The Special Master erred, however, when he established a new requirement,

not grounded in any New York authority, that an assignment can be champertous

only if it is made for the purpose of bringing a specific lawsuit against a specific

defendant on a specific theory, rather than for purposes of litigation more generally.

The Special Master noted that the Emblem Assignment formed “part of a substantial

transaction”—i.e., one that assigned many claims, not just claims related to

valsartan-containing drugs—and that transaction took place before the recall at

issue. He therefore reasoned that the transaction “was not motivated by an intent to

bring suit against producers of valsartan” specifically. (ECF 2701, at 9.) The Special

Master did not cite any authority in support of this distinction between litigation

generally and litigation against a particular defendant on a particular theory. And

his distinction finds no support in the language of the statute, which proscribes any

assignment “with the intent and for the purpose of bringing an action or proceeding

thereon.” N.Y. Jud. Law § 489 (emphasis added). “[T]he article ‘a[n],’ when used



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prior to a countable noun, is most often understood to refer to a nonspecific thing.”

Walmart Inc. v. Cap. One, N.A., No. 23 Civ. 2942, 2024 WL 1311907, at *9

(S.D.N.Y. Mar. 26, 2024); see, e.g., United States v. Johnman, 948 F.3d 612, 618

(3d Cir. 2020) (“As an indefinite article, ‘a’ or ‘an’ ‘implies that the thing referred

to is nonspecific.’”) (citation omitted). Had the New York legislature wished to

impose the specificity limitation suggested by the Special Master, it easily could

have done so by drafting the statute to prohibit an assignment taken “with the intent

or for the purpose of bringing a specific action.” It did not.

      Moreover, the Special Master’s reasoning is inconsistent with the purpose of

the champerty doctrine, which is “to prevent or curtail the commercialization of or

trading in litigation.” Justinian Cap., 65 N.E.3d at 1254 (citation omitted). The fact

that Plaintiffs purchased many potential lawsuits at once suggests an even greater

degree of “trading in litigation” than if they had purchased just one. That is

particularly so because the Special Master acknowledged that purchasing

assignments to sue on them “appear[s] to be part and parcel of how [MSP] conducts

its business.” (ECF 2701, at 5.)

      Without the specificity requirement invented by the Special Master, the ZHP

Defendants can easily show that Plaintiffs took the EmblemHealth Assignment for

the purpose of bringing a lawsuit. As Judge Kugler recognized earlier in this

litigation, MSP’s entire business model consists of buying claims “only to sue on



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them.” (ECF 2657, at 9.) See, e.g., Justinian Cap., 65 N.E.3d at 1257 (relying on

the fact that plaintiff’s “business plan . . . was acquiring investments . . . in order to

sue on them”). Moreover, the EmblemHealth Assignment explicitly states under the

header “Purpose of Assignment” that it is made “in order to facilitate Assignee’s

ability to initiate and pursue the recovery of the Assigned Medicare Recovery

Claims, including in any litigation.” (ECF 2672-3 (emphasis added).) Finally, the

fact that EmblemHealth received consideration primarily in the form of a 50% stake

in any recovery provides further evidence of litigation-driven intent. Cf. Elliot

Assocs., L.P. v. Republic of Panama, 975 F. Supp. 332, 339 (S.D.N.Y. 1997) (finding

no champertous intent because (1) the assignee “paid some $8 million for the notes,

not just a token sum”; and (2) “[u]nlike in other cases where the assignor retained

an interest in the outcome of litigation, [assignors] retained no interest in the notes”).

      Taken together, this evidence is more than sufficient to state a “plausible”

defense. Juul Labs, 2020 WL 2029327, at *5. Moreover, as the Special Master

himself acknowledged, “champertous intent is a fact-sensitive” inquiry. (ECF 2701,

at 11 (quoting MSP Recovery Claims, Series LLC v. Abbott Lab’ys, No. 19-21607,

2021 WL 2177548, at *10 (D.N.J. May 28, 2021)).) As Abbott Laboratories went

on to explain, that renders the issue “inappropriate for resolution” under the motion-

to-dismiss standard that governs here.




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      The SummaCare Assignment plausibly violates Ohio’s prohibition on

maintenance and champerty. For much the same reasons, the ZHP Defendants can

plausibly demonstrate that the SummaCare Assignment violates Ohio’s prohibition

on champerty.     As previously discussed, MSP and SummaCare’s assignment

agreement specified that it was governed under Ohio law. (ECF 2672-4.) And under

Ohio law, “‘[c]hamperty’ is a form of maintenance in which a nonparty undertakes

to further another’s interest in a suit in exchange for a part of the litigated matter if

a favorable result ensues.” Rancman v. Interim Settlement Funding Corp., 789

N.E.2d 217, 219 (Ohio 2003). An assignment is void if the assignee “‘would receive

a stake’ in the assignors’ claims.” Hiles v. NovaStar Mortg., Inc., No. 1:12-cv-392,

2012 WL 4813775, at *4 (S.D. Ohio Oct. 10, 2012) (citation omitted).

      The Special Master suggested that the common-law doctrine of champerty

was abrogated by Ohio Revised Code § 1349.55, which took effect in August 2008.

Not so. Section 1349.55 establishes disclosure requirements for transactions in

which “a company makes a cash payment to a consumer who has a pending civil

claim or action in exchange for the right to receive an amount out of the proceeds.”

Ohio Rev. Code § 1349.55(A)(1). The statute appears to be concerned with litigation

financing agreements (cash advances to plaintiffs that sue in their own name) rather

than cases involving a wholesale assignment of rights. More importantly, it says

nothing about the substantive permissibility of any transaction. In any event, even



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the disclosure requirements do not apply in cases like this one because there was no

“pending civil claim or action,” Ohio Rev. Code § 1349.55(A)(1) (emphasis added),

at the time of the champertous agreement. As such, courts applying Ohio law have

dismissed cases predicated on analogous champertous assignments well after the

enactment of the statute. See Hiles, 2012 WL 4813775, at *4 (decision from 2012

involving assignment from 2011 dismissing case because “[c]hampertous

assignments are void”); see also MSP Recovery Claims, Series LLC v. Abbott

Lab’ys, No. 19-21607, 2023 WL 8718823, at *12-13 (D.N.J. Dec. 18, 2023)

(discussing elements of champerty in decision from December 2023).

      The Special Master relied heavily on an advisory bar discipline opinion

discussing the ethical considerations surrounding litigation financing. Advisory

Opinion No. 2012-3 of the Supreme Court of Ohio Board of Commissioners on

Grievances and Discipline, 2012 WL 6591524, at *1 (Dec. 7, 2012). Such a

document has no precedential value. Moreover, the opinion said nothing about

assignments per se, instead focusing on transactions “advanc[ing] funds to

individuals who have pending civil (usually personal injury) claims” in exchange for

“the amount advanced plus additional financing fees.” Id. at *2. The Special Master

also relied on a Minnesota Supreme Court decision, Maslowski v. Prospect Funding

Partners LLC, but that case did nothing but list Ohio among states that “have adopted

statutes to regulate consumer litigation financing agreements.” 944 N.W.2d 235,



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241 n.4 (Minn. 2020). It certainly did not hold that Ohio had abolished any

substantive limits on champertous assignments.

      The SummaCare Assignment is plausibly void under Ohio law because it

assigned a contingent future interest. Lastly, the ZHP Defendants can plausibly

show that the SummaCare Assignment independently violates Ohio’s prohibition on

“assign[ing] the right to the future proceeds of a [judgment or] settlement if the right

to the proceeds does not exist at the time of the agreement.” W. Broad Chiropractic

v. Am. Fam. Ins., 912 N.E.2d 1093, 1097-98 (Ohio 2009). Rights to a claim or to

the proceeds from a future claim cannot be assigned where “liability ha[s] yet to be

established and no settlement [or judgment] proceeds exist[].” Blue Ash Auto Body,

Inc. v. Frank, 190 N.E.3d 1180, 1182 (Ohio Ct. App. 2022); see Three-C Body

Shops, Inc. v. Francois, No. 19AP-471, 2020 WL 5821316, at *3 (Ohio Ct. App.

Sept. 30, 2020) (“There must be an existing and present determination of liability

and right to damages” at the time of assignment.). To the extent the Special Master

held that this defense was also superseded by § 1349.55 in 2008, that was clearly

wrong, since every relevant case applying it post-dates the enactment of that statute.

      The Special Master also claimed that SummaCare assigned “its existing

rights” (ECF 2701, at 10 n.4), but that is clearly wrong, too. At the time of its

assignment, SummaCare had not established the right to any damages from the ZHP

Defendants; indeed, that issue still remains to be decided. If the Special Master



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meant that a cause of action had accrued by the time of the assignment, that fact is

irrelevant.   See Three-C Body Shops, 2020 WL 5821316, at *3 (“Although

[plaintiffs] suggest[] that [assignor’s] cause of action against [defendant] was

assignable because the cause of action had already accrued at the time of the

assignment, the [Ohio] Supreme Court rejected this same argument in W. Broad

Chiropractic.”).

      The Special Master also stated that “[t]he validity of assignments . . . ha[s]

long been recognized.” (ECF 2701, at 10 n.4 (citing Sprint Commc’ns Co. v. APCC

Servs., Inc., 554 U.S. 269, 274-85 (2008) & MSP Recovery Claims Series LLC v.

Grange Ins. Co., No. 5:19cv00219, 2019 WL 6770729, at *12 (N.D. Ohio Dec. 12,

2019)).) But both Sprint and Grange Insurance decided only that the plaintiffs had

federal Article III standing, not whether the assignments were valid under state law.3

As such, they have no relevance to any substantive state-law limits on assignments.

II.   THE ZHP DEFENDANTS’ PROPOSED AMENDMENT WOULD
      NOT UNDULY PREJUDICE PLAINTIFFS.

      “[U]ndue prejudice is ‘the touchstone for the denial of leave to amend.’” Heyl

& Patterson Int’l, Inc. v. F.D. Rich Hous. of V.I., Inc., 663 F.2d 419, 425 (3d Cir.




3
       Grange Insurance mentioned common-law champerty (though not the
prohibition on assigning contingent future interests) but determined only that the
issue had not properly been raised in the motion to dismiss and could be revisited at
the summary judgment stage. 2019 WL 6770729, at *15.


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1981) (emphasis added) (citation omitted). By contrast, “incidental prejudice is not

a sufficient basis to deny an amendment.” Ajax Enters. v. Fay, No. 04-4539, 2007

WL 766335, at *3 (D.N.J. Mar. 7, 2007); see, e.g., Juul Labs, 2020 WL 2029327, at

*4 (“mere inconvenience in defending a suit” constitutes “incidental prejudice” and

does not justify denying leave to amend). In concluding that this high standard of

prejudice could be met, the Special Master erred in multiple respects.

      First, the Special Master fundamentally misstated the procedural posture of

this case by repeatedly stating that the parties were “on the eve of the first bellwether

trial.” (ECF 2701, at 6, 7, 12.) They are not. There is no longer any bellwether trial

scheduled, much less one scheduled imminently. To the contrary, immediately prior

to oral argument before the Special Master, Judge Kugler announced that due to his

impending retirement, no trial would go forward this spring. (See ECF 2698, 3:24.)

The questions of when, how, and even whether a bellwether trial might proceed

remain open. (Id. 4:16-23.) At a minimum, however, no such trial is imminent. If

there is to be a bellwether trial, there will almost certainly be more time between

now and any trial date than there was between the date of the initial answer in

December 2023 and the originally-scheduled trial in March 2024. That is in addition

to the two months that have already elapsed since the ZHP Defendants filed their

motion to amend. In other words, Plaintiffs have more time to prepare to meet these




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affirmative defenses than they would have had if the defenses had been included in

the answer and the trial had gone ahead as planned. 4

      Second, the Special Master suggested that inclusion of the proposed defenses

would “lead to extensive discovery” and resultant delay. (ECF 2701, at 7; see id. at

11 (“additional and extensive discovery”).) This, too, is incorrect. For starters, the

need for “some additional discovery” does not suffice to deny leave to amend an

answer. Venuto, 2020 WL 998945, at *5 (citation omitted) (“[A] single extra

deposition does not reach the level of undue prejudice.”); see, e.g., Ajax Enters.,

2007 WL 766335, at *3 (rejecting claim of prejudice based on need to conduct new

discovery). That principle applies with special force here. In light of the unique

nature of a bellwether trial in a multi-district proceeding, discovery was already

closed when the ZHP Defendants filed their initial answer. Had these defenses been

included in that answer, it could not have changed the course of discovery or

obviated any potential need to reopen it.

      Moreover, if any additional discovery is necessary, it would likely be very

limited in scope. While the Special Master is correct that the proposed defenses can

involve fact-intensive inquiries (see ECF 2701, at 11), most of the relevant facts—


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       Even if trial really were imminent, that alone would not justify denying leave
to amend. It is well established that “amendments may be made during trial, after
the close of testimony, or even after judgment.” Ajax Enters., 2007 WL 766335, at
*2.


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such as the nature of the assignments and the nature of Plaintiffs’ business model—

have already been discovered. And to the extent any remain undiscovered, they

would all be in Plaintiffs’ possession.

      Third, the Special Master suggested that if amendment were allowed,

Plaintiffs would “consider designating a new class representative” and thereby

require “additional discovery, briefing, and judicial decision-making on class

certification issues.” (ECF 2701, at 12.) But that cannot possibly be a basis to deny

leave to amend because the same would have been true had these defenses been

included in the initial answer. The answer itself was filed ten months after the class

certification order and eight months after the bellwether trial was set. In any event,

the defendants raised the possibility that MSP would be subject to a unique

champerty defense in their initial class certification opposition in early 2022. (See

ECF 2010, at 21-22.) That did not prompt Plaintiffs or their counsel to seek to

designate a new class representative then, and is therefore unlikely to do so now.

      The Special Master also noted the fact that “summary judgment motions ha[d]

been filed.” (ECF 2701, at 6.) Once again, that is irrelevant. “It is not unusual for

pleadings to be amended . . . at the summary judgment stage of a case.” Ajax Enters.,

2007 WL 766335, at *2. That a party has already filed a motion for summary

judgment and will need to file an additional one following amendment might

constitute incidental prejudice, but “is not enough to overcome ‘the liberal



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approach’” embodied in the federal rules. Venuto, 2020 WL 998945, at *5 (citation

omitted). Moreover, the suggestion that amendment cannot be made after summary

judgment briefing or a summary judgment order would abrogate the longstanding

principle that amendments can be made at trial or even after judgment.

III.   THE REMAINING FACTORS MENTIONED BY THE SPECIAL
       MASTER DO NOT JUSTIFY DENYING AMENDMENT.

       Although the Special Master’s decision was based primarily on his evaluation

of the merits and purported prejudice, he mentioned two additional factors: the mere

fact of delay itself, and his view that challenges to the assignments would be

pointless. To the extent that either formed the basis for his decision, that, too, was

wrong.

       First, the Special Master suggested that the ZHP Defendants’ “motion for

leave to amend simply comes too late.” (ECF 2701, at 12.) It is black-letter law in

this circuit that “[d]elay alone is not sufficient to justify denial of leave to amend.”

Arthur v. Maersk, Inc., 434 F.3d 196, 204 (3d Cir. 2006); see, e.g., Long v. Wilson,

393 F.3d 390, 401 (3d Cir. 2004) (“[W]e did not believe that the [defendant] had to

supply a compelling reason for its delay in asserting the three additional defenses in

view of the absence of prejudice to the plaintiff.”). And, in any event, the delay here

was hardly substantial. The motion to amend was filed within three months of the

answer and long before any potential trial. The Third Circuit has routinely found

amendment appropriate following much greater delay. See Long, 393 F.3d at 401


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(defense asserted 14 months after answer and only when raised sua sponte by the

magistrate judge); Heyl & Patterson, 663 F.2d at 424-27 (addition of new

affirmative defenses specified in opening statement).

      Second, the Special Master suggested that permitting amendment would

“accomplish[]” “nothing meaningful” because even if the assignments were

invalidated, the claims would remain as property of the assignors. (ECF 2701, at

11.) The claims could theoretically then be pursued by the assignors as absent class

members, represented by some unknown new named plaintiff, rather than by MSP

as the class representative. (Id.) If this logic were taken seriously, a defendant would

never be able to challenge the validity of an assignment (since the assignor could

bring the same claim) or the adequacy of a class representative (since that

representative could still pursue the same claim as an absent class member). That is

not the law.

                                      CONCLUSION

      For the foregoing reasons, the Court should sustain the ZHP Defendants’

objections to the Special Master’s Order, reverse the Special Master’s ruling in SMO

97, and permit the filing of a Second Amended Answer.

Dated: May 9, 2024                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 9, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to all CM/ECF participants in this matter.

                                        /s/ Jessica Davidson
                                        Jessica Davidson (NY Bar No. 6034748)




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